     Case 17-22180-MBK                Doc 138 Filed 01/29/22 Entered 01/30/22 00:14:33                         Desc
                                    Imaged Certificate of Notice Page 1 of 5
Form 158 − ntcpvsale11dip

                                      UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                           Case No.: 17−22180−MBK
                                           Chapter: 13
                                           Judge: Michael B. Kaplan

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Rosa Irene Rodriguez
   928 Wright Avenue
   Toms River, NJ 08753
Social Security No.:
   xxx−xx−7772
Employer's Tax I.D. No.:


                                      NOTICE OF PROPOSED PRIVATE SALE


       Rosa Irene Rodriguez , debtor(s) in the above captioned case, proposed a private sale of certain property of the
estate to the persons and on the terms described below.

      If any creditor or other party in interest has an objection to the sale, the objection and a request for a hearing on
such objection shall be in writing, served upon the person named below, the Debtor, and the Clerk of the United
States Bankruptcy Court.
     Such objection and request shall be filed with the Clerk and served upon the person named below on or before
February 16, 2022.

      In the event an objection is timely filed, a hearing will be held before the Honorable Michael B. Kaplan on:

DATE:                       February 23, 2022
TIME:                       9:00 AM
COURTROOM:                  8

      If no objection is filed with the Clerk and served upon the person named below on or before February 16,
2022, the sale will be consummated on or after the fifth day following the last day to file objections.

THE PROPERTY TO BE SOLD, THE PROPOSED PURCHASER AND THE SALE PRICE:
928 Wright Avenue, Toms River, NJ 08753
Proposed Purchaser: Columbus Investments, LLC
Sale Price: $200,000.00


     Higher or better offers may be submitted to the selling party no later than the date set for objections set forth
above.
      Request for additional information about the property to be sold should be directed to the debtor's attorney at:
William H. Oliver, Jr.
Oliver & Legg, LLC
2240 State Highway 33
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Suite 112
Neptune, NJ 07753
732−988−1500




Dated: January 27, 2022
JAN: mrg

                                                    Jeanne Naughton
                                                    Clerk
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                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 17-22180-MBK
Rosa Irene Rodriguez                                                                                                   Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-3                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Jan 27, 2022                                               Form ID: 158                                                              Total Noticed: 38
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 29, 2022:
Recip ID                   Recipient Name and Address
db                     +   Rosa Irene Rodriguez, 928 Wright Avenue, Toms River, NJ 08753-5463
r                      +   ADK Realty, 1071 Route 37 West, Toms River, NJ 08755-5026
br                     +   Keller Williams Realty, 353 North County Line Rd., Jackson, NJ 08527-4426
r                      +   Pittenger Realty, 2240 Highway 33, Neptune, NJ 07753-6121
r                      +   Pittenger Realty, 2260 State Highway 33, Suite 1, Neptune, NJ 07753-6113
518332456              +   CitiMortgage, Inc., c/o Cenlar FSB, 425 Phillips Blvd., Ewing NJ 08618-1430
518332457              +   CitiMortgage, Inc., c/o Cenlar FSB, 425 Phillips Blvd., Ewing NJ, 08618, CitiMortgage, Inc., c/o Cenlar FSB, 425 Phillips Blvd. Ewing NJ
                           08618-1430
516881395                  Gastroenterologists of Ocean County, 477 Lakehurst Road, Office Suite, Toms River, NJ 08755-6342
516881396              +   Gerald L. Reif, Court Officer, PO Box 350, South Orange, NJ 07079-0350
516881399                  Michael Harrison, Esq., 3155 NJ 10, Denville, NJ 07834
516881400              +   Millicent Young, c/o Garces, Grabler & Lebrocq, P.C., 20 Green Street, Newark, NJ 07102-3602
516881401              +   Millicent Young, 138-14 Bedford Street, East Orange, NJ 07018-1027
516881402              +   Powers Kirn, 728 Marine Highway, Suite 200, PO Box 848, Moorestown, NJ 08057-0848
516881403              +   Receivables Management, 240 Emery Street, Bethlehem, PA 18015-1980
516881404              +   Sewer Reminder Notice, Toms River MUA, 340 West Water Street, Toms River, NJ 08753-6533
516896844              +   Toms River MUA, 340 West Water Street, Toms River, NJ 08753-6533
518846785                  Wilmington Savings Funds Society, FSB, as trustee of Stanwich Mortgage Loan, Trust H, 1600 S. Douglass Rd. Anaheim, CA 92806
518846786                  Wilmington Savings Funds Society, FSB, as trustee of Stanwich Mortgage Loan, Trust H, 1600 S. Douglass Rd. Anaheim, CA 92806,
                           Wilmington Savings Funds Society, FSB as trustee of Stanwich Mortgage Loan

TOTAL: 18

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
smg                        Email/Text: usanj.njbankr@usdoj.gov
                                                                                        Jan 27 2022 20:31:00      U.S. Attorney, 970 Broad St., Room 502, Rodino
                                                                                                                  Federal Bldg., Newark, NJ 07102-2534
smg                    + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                                        Jan 27 2022 20:31:00      United States Trustee, Office of the United States
                                                                                                                  Trustee, 1085 Raymond Blvd., One Newark
                                                                                                                  Center, Suite 2100, Newark, NJ 07102-5235
lm                         Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                        Jan 27 2022 20:39:51      Citi Mortgage, PO Box 6243, Sioux Falls, SD
                                                                                                                  57117-6243
cr                     + Email/Text: BKBCNMAIL@carringtonms.com
                                                                                        Jan 27 2022 20:30:00      Wilmington Savings Fund Society, FSB, as trustee
                                                                                                                  o, c/o Carrington Mortgage Services, 1600 S.
                                                                                                                  Douglass Rd., Anaheim, CA 92806-5948
517148434              + Email/Text: g20956@att.com
                                                                                        Jan 27 2022 20:31:00      AT&T Mobility II LLC, c/o AT&T Services, Inc.,
                                                                                                                  Karen A. Cavagnaro-Lead Paralegal, One AT&T
                                                                                                                  Way, Room 3A104, Bedminster, NJ 07921-2693
517236866              + Email/PDF: acg.acg.ebn@aisinfo.com
                                                                                        Jan 27 2022 20:29:27      Capital One Auto Finance, c/o Ascension Capital
                                                                                                                  Group, 4515 N Santa Fe Ave., Dept. APS,
                                                                                                                  Oklahoma City, OK 73118-7901
516881390              + Email/PDF: acg.coaf.ebn@aisinfo.com
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Date Rcvd: Jan 27, 2022                                            Form ID: 158                                                         Total Noticed: 38
                                                                                   Jan 27 2022 20:29:28     Capital One Auto Finance, Attn: Bankruptcy, PO
                                                                                                            Box 30285, Salt Lake City, UT 84130-0285
516895215             + Email/PDF: acg.acg.ebn@aisinfo.com
                                                                                   Jan 27 2022 20:29:35     Capital One Auto Finance, c/o Ascension Capital
                                                                                                            Gr, P.O. Box 201347, Arlington, TX 76006-1347
517013581                Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                   Jan 27 2022 20:39:55     CitiMortgage, Inc, P.O. Box 688971, Des Moines,
                                                                                                            IA 50368-8971
516881392                Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                   Jan 27 2022 20:39:55     Citimortgage Inc, Attn: Bankruptcy, Po Box 6423,
                                                                                                            Sioux Falls, SD 57117
517023387             + Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                   Jan 27 2022 20:39:55     Citimortgage Inc, POB 6030, Sioux Falls, SD
                                                                                                            57117-6030
516881393             + Email/Text: bankruptcy_notifications@ccsusa.com
                                                                                   Jan 27 2022 20:31:00     Credit Collection Service, PO Box 773, Needham
                                                                                                            Heights, MA 02494-0918
516881394             + Email/Text: EBN_Waco@Receivemorermp.com
                                                                                   Jan 27 2022 20:31:00     Financial Control Services, 200 N. New Road, PO
                                                                                                            Box 21626, Waco, TX 76702-1626
516881397                Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                                   Jan 27 2022 20:30:00     Internal Service Revenue, PO Box 7346,
                                                                                                            Philadelphia, PA 19101-7346
516881391                Email/PDF: ais.chase.ebn@aisinfo.com
                                                                                   Jan 27 2022 20:29:12     Chase Auto Finance, National Bankruptcy Dept.,
                                                                                                            201 N. Central Avenue, MS Az1-1191, Phoenix,
                                                                                                            AZ 85004
517025474                Email/Text: bnc-quantum@quantum3group.com
                                                                                   Jan 27 2022 20:31:00     Quantum3 Group LLC as agent for, CF Medical
                                                                                                            LLC, PO Box 788, Kirkland, WA 98083-0788
516999239                Email/PDF: ebn_ais@aisinfo.com
                                                                                   Jan 27 2022 20:29:21     Verizon, by American InfoSource LP as agent, PO
                                                                                                            Box 248838, Oklahoma City, OK 73124-8838
516881406             + Email/Text: wfmelectronicbankruptcynotifications@verizonwireless.com
                                                                                 Jan 27 2022 20:30:00       Verizon, Verizon Wireless Bankruptcy Admin.,
                                                                                                            500 Technology Drive, Suite 500, Saint Charles,
                                                                                                            MO 63304-2225
517000710             + Email/PDF: ebn_ais@aisinfo.com
                                                                                   Jan 27 2022 20:29:21     Verizon by American InfoSource LP as agent,
                                                                                                            4515 N Santa Fe Ave, Oklahoma City OK
                                                                                                            73118-7901
516881407             + Email/Text: collect@williamsalexander.com
                                                                                   Jan 27 2022 20:30:00     Waassociates, PO Box 2148, Wayne, NJ
                                                                                                            07474-2148

TOTAL: 20


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
cr                            Toms River Municipal Utilities Authority
517236867       *+            Capital One Auto Finance, c/o Ascension Capital Group, 4515 N Santa Fe Ave., Dept. APS, Oklahoma City, OK 73118-7901
517236869       *+            Capital One Auto Finance, c/o Ascension Capital Group, 4515 N Santa Fe Ave., Dept. APS, Oklahoma City, OK 73118-7901
517018881       ##+           B & R RECOVERY, LLC, ATTN: ANDREW SKLAR, ESQUIRE, SKLAR LAW, LLC, 1200 LAUREL OAK RD, SUITE 102,
                              VOORHEES, NJ 08043-4317
516881398       ##            Jefferson Physician Business Services, PO Box 40089, Philadelphia, PA 19106-0089
516881405       ##            Sure Recovery Service, PO Box 818, Jackson, NJ 08527-0818

TOTAL: 1 Undeliverable, 2 Duplicate, 3 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
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complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 29, 2022                                        Signature:           /s/Joseph Speetjens




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on January 27, 2022 at the address(es) listed
below:
Name                             Email Address
Albert Russo
                                 on behalf of Trustee Albert Russo docs@russotrustee.com

Albert Russo
                                 docs@russotrustee.com

Craig Scott Keiser
                                 on behalf of Creditor CitiMortgage Inc. craig.keiser@law.njoag.gov

Nicholas V. Rogers
                                 on behalf of Creditor CitiMortgage Inc. nj.bkecf@fedphe.com

U.S. Trustee
                                 USTPRegion03.NE.ECF@usdoj.gov

William H. Oliver, Jr.
                                 on behalf of Debtor Rosa Irene Rodriguez courtdocs@oliverandlegg.com R59915@notify.bestcase.com

William M. E. Powers, III
                                 on behalf of Creditor Wilmington Savings Fund Society FSB, as trustee of Stanwich Mortgage Loan Trust H
                                 ecf@powerskirn.com

William M. E. Powers, III
                                 on behalf of Creditor CitiMortgage Inc. ecf@powerskirn.com

William M.E. Powers
                                 on behalf of Creditor CitiMortgage Inc. ecf@powerskirn.com

William M.E. Powers, III
                                 on behalf of Creditor CitiMortgage Inc. ecf@powerskirn.com


TOTAL: 10
